
In re: William Jonathan Golz and Pamela Marie Fortier Golz applying for writs of review and aid of the court’s supervisory jurisdiction prohibition and injunction.
Granted. (See Order).
The petition of the relator in the above entitled and numbered case having been duly considered,
It is ordered that a writ of certiorari issue herein, directing the Honorable Melvin J. Duran, Judge of the Civil District Court, for the Parish of Orleans, to transmit to the Supreme Court of Louisiana, on or before the 27th day of January, 1976, the record in duplicate, or a certified copy of the record in duplicate, of the proceedings complained of by the relator herein, to the end that the validity of said proceedings may be ascertained.
It is further ordered that the aforesaid Judge of said Court and the respondent through counsel shall show cause, in this court, on the 27th day of January, 1976, at 10 o’clock A.M., why the relief prayed for in the petition of the relator should not be granted.
